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                                                                The Honorable James L. Robart
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
 9
                                      AT SEATTLE

10   CLAIRE DOUGLAS and MARY JOAN                     No. 2:20-cv-00193-JLR
     ISABELL, individually, on behalf of
11
     similarly situated individuals,                  STIPULATION AND [PROPOSED]
12                                                    ORDER EXTENDING DEADLINES
                          Plaintiffs,                 FOR (1) CLASS CERTIFICATION
13
            v.                                        DISCOVERY, (2) RENEWED MOTION
                                                      FOR CLASS CERTIFICATION, AND
14
     BANK OF AMERICA, N.A., a national                (3) RESPONSIVE PLEADINGS
15   banking association,
                                                      Noted for Consideration:
16                        Defendant.                  January 5, 2021
17
                                         I.   BACKGROUND
18
            In an Order filed on November 19, 2020, the Court, inter alia, (1) granted Plaintiffs’
19
     motion to amend their complaint, (2) denied without prejudice Plaintiffs’ motion for
20
     class certification and (3) set new deadlines for completing class discovery and filing a
21
     renewed motion for class certification. See Dkt. No. 100. Pursuant to that Order, class
22
     discovery must be completed by January 22, 2021, and a renewed motion for class
23
     certification must be filed by February 22, 2021.
24
            After Plaintiffs filed their amended complaint on December 3, 2020, Dkt. No. 101,
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     the parties entered serious settlement discussions. Those discussions continue, and the
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                                                                         SIRIANNI YOUTZ
                                                                   SPOONEMORE HAMBURGER PLLC
     STIPULATION AND ORDER EXTENDING                                  3101 WESTERN AVENUE, SUITE 350
     CERTAIN DEADLINES– 1                                                SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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 1   parties have agreed to jointly request extensions of the pending deadlines to facilitate
 2   that process.
 3                                        II. STIPULATION
 4          1.       Plaintiffs filed their Second Amended Complaint on December 3, 2020.
 5   The parties agree that, subject to approval by the Court, Bank of America does not need
 6   to respond to that pleading until February 22, 2021.
 7          2.       In order to facilitate the ongoing settlement discussions between the
 8   parties, Bank of America and Plaintiffs agree, subject to Court approval, that the deadline
 9   to complete discovery on class certification issues set forth in docket No. 100 should be
10   extended to March 22, 2021.
11          3.       In addition, the parties agree that, subject to Court approval, the deadline
12   for Plaintiffs to renew their motion for class certification set forth in docket No. 100
13   should be extended to April 22, 2021.
14          DATED: January 4, 2021.
15
      SIRIANNI YOUTZ                                 LAGASSE BRANCH BELL + KINKEAD
16    SPOONEMORE HAMBURGER PLLC                      LLP
17     /s/ Richard E. Spoonemore                      /s/ Garrett J. Williams
      Richard E. Spoonemore, WSBA #21833             Kelly D. Folger, WSBA #39407
18
      Chris R. Youtz, WSBA #7786                     Garrett J. Williams, WSBA #52902
19    Daniel S. Gross, WSBA #23992                   601 W. 1st Avenue, Suite 1400
      3101 Western Avenue, Suite 350                 Spokane, WA 99201
20
      Seattle, WA 98121                              Telephone: (509)828-4408
21    Tel.: (206) 223-0303                           Email: kfolger@lbbklaw.com
      Email: rick@sylaw.com                          Email: gwilliams@lbbklaw.com
22    Email: chris@sylaw.com                         Attorneys for Defendant
      Email: daniel@sylaw.com                        BANK OF AMERICA, N.A.
23
      Attorneys for Plaintiffs
24

25

26

                                                                         SIRIANNI YOUTZ
                                                                   SPOONEMORE HAMBURGER PLLC
     STIPULATION AND ORDER EXTENDING                                  3101 WESTERN AVENUE, SUITE 350
     CERTAIN DEADLINES– 2                                                SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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                                                    01/05/21 Page 3 of 5




     ATTORNEY WEST SEATTLE
 1

 2     /s/ Eric J. Harrison
     Eric J. Harrison, WSBA #46129
 3   5400 California Avenue SW
     Seattle, WA 98136
 4
     Tel. (206) 388-8092
 5   Email: eric@attorneywestseattle.com
     Attorneys for Plaintiffs
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                                                             SIRIANNI YOUTZ
                                                       SPOONEMORE HAMBURGER PLLC
     STIPULATION AND ORDER EXTENDING                     3101 WESTERN AVENUE, SUITE 350
     CERTAIN DEADLINES– 3                                   SEATTLE, WASHINGTON 98121
                                                       TEL. (206) 223-0303 FAX (206) 223-0246
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                                          III. ORDER
 2
           Based on the stipulation of the parties and for good cause shown, the deadline to
 3
     complete discovery on class certification shall be extended from January 22, 2021 to
 4
     March 22, 2021 and the deadline for Plaintiffs to file a renewed motion for class
 5
     certification shall be extended from February 22, 2021 to April 22, 2021. Defendant Bank
 6
     of America shall file a responsive pleading to Plaintiffs’ Second Amended Complaint by
 7
     February 22, 2021.
 8
           DATED this 11th day of January, 2021.
 9

10

11
                                                       A    James L. Robart
                                                       United States District Judge
12
     Presented by:
13
     SIRIANNI YOUTZ
14
     SPOONEMORE HAMBURGER PLLC
15
       /s/ Richard E. Spoonemore
16
     Richard E. Spoonemore, WSBA #21833
17   Chris R. Youtz, WSBA #7786
     Daniel S. Gross, WSBA #23992
18   3101 Western Avenue, Suite 350
     Seattle, WA 98121
19
     Tel.: (206) 223-0303
20   Email: rick@sylaw.com
     Email: chris@sylaw.com
21   Email: daniel@sylaw.com
22
     Attorneys for Plaintiffs

23

24

25

26

                                                                      SIRIANNI YOUTZ
                                                                SPOONEMORE HAMBURGER PLLC
     STIPULATION AND ORDER EXTENDING                               3101 WESTERN AVENUE, SUITE 350
     CERTAIN DEADLINES– 4                                             SEATTLE, WASHINGTON 98121
                                                                 TEL. (206) 223-0303 FAX (206) 223-0246
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     ATTORNEY WEST SEATTLE
 1

 2     /s/ Eric J. Harrison
     Eric J. Harrison, WSBA #46129
 3   5400 California Avenue SW
     Seattle, WA 98136
 4
     Tel. (206) 388-8092
 5   Email: eric@attorneywestseattle.com
     Attorneys for Plaintiffs
 6
     LAGASSE BRANCH BELL + KINKEAD
 7
     LLP
 8
       /s/ Garrett J. Williams
 9   Kelly D. Folger, WSBA #39407
     Garrett J. Williams, WSBA #52902
10
     601 W. 1st Avenue, Suite 1400
11   Spokane, WA 99201
     Telephone: (509)828-4408
12
     Email: kfolger@lbbklaw.com
13   Email: gwilliams@lbbklaw.com
     Attorneys for Defendant
14   BANK OF AMERICA, N.A.
15

16

17

18

19

20

21

22

23

24

25

26

                                                              SIRIANNI YOUTZ
                                                        SPOONEMORE HAMBURGER PLLC
     STIPULATION AND ORDER EXTENDING                      3101 WESTERN AVENUE, SUITE 350
     CERTAIN DEADLINES– 5                                    SEATTLE, WASHINGTON 98121
                                                        TEL. (206) 223-0303 FAX (206) 223-0246
